Case 2:90-cr-00304-SRC          Document 28      Filed 08/28/08     Page 1 of 7 PageID: 352




                                                                                         CL
NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

____________________________________
                                    :
UNITED STATES OF AMERICA,           :
                                    :
                  Plaintiff ,       :
                                    :              Crim. A. No. 90-0304 (SRC)
v.                                  :
                                    :               AMENDED OPINION & ORDER
FAHIM MUHAMMED,                     :
                                    :
                  Defendant.        :
____________________________________:


Chesler, U.S.D.J.

       This matter comes before the Court on the motion for a reduction in sentence pursuant to

Title 18 of the United States Code, Section 3582(c)(2) filed by pro se Defendant Fahim

Muhammed. [Docket item 13]. The Court has considered the papers filed in support of and in

opposition to the motion, and for the reasons discussed below, the Court denies Defendant’s

motion for reduction in sentence.

I. Background

       On April 23, 1991, a jury found Defendant guilty of conspiracy to distribute heroin. The

United States Probation Office (“Probation”) prepared a presentence report. Probation assigned

Defendant two points under U.S.S.G. § 4A1.1(d), because Defendant committed the offense

while under parole supervision, and one point under U.S.S.G. § 4A1.1(e), because Defendant

committed the offense within two years of being released from prison. PSIR at 20, ¶ ¶ 84-85.

Probation also assigned Defendant three points under U.S.S.G. § 4A1.1(a) for four prior armed
Case 2:90-cr-00304-SRC           Document 28          Filed 08/28/08    Page 2 of 7 PageID: 353




bank robberies, resulting in a total criminal history score of six, placing Defendant in criminal

history category III. PSIR at 17-20.

       In determining Defendant’s criminal history score, Probation relied the version of the

Sentencing Guidelines in effect at the time the offenses were committed, which was prior to the

adoption of Amendment 382. See PSIR at 20, ¶ ¶ 83-87. The United States Sentencing

Commission adopted Amendment 382 on November 1, 1991, adding subsection (f) to Section

4A1.1. See U.S.S.G. App’x C, Amend. 382. This new subsection would have increased

Defendant’s criminal history score by requiring the sentencing court to add one additional point

for each prior sentence that did not receive any points under Section 4A1.1(a),(b), or (c). Id.

Under the pre-Amendment 382 guidelines, Defendant’s four prior armed bank robberies were

considered “related offenses” because they had been consolidated for sentencing and therefore

counted as a single sentence under 4A1.1(a). Under the amended guidelines, Defendant would

have received three additional points for these offenses, which would have resulted in a criminal

history score of nine, placing Defendant in criminal history category IV.

       Although the Sentencing Commission adopted Amendment 382 before Defendant was

sentenced, application of the stricter standard under the amendment would have been in violation

of the ex post facto clause of the United States Constitution because the amendment was not in

place at the time Defendant committed the offense and application would have subjected him to a

longer sentence. See U.S. Const. art. I, § 9, cl. 3. However, Probation suggested in its report that

Defendant’s criminal history score, as calculated under the pre-Amendment 382 guidelines did

not adequately reflect the seriousness of Defendant’s criminal history and recommended an

upward departure. PSIR at 24, ¶ ¶ 118-123.


                                                -2-
Case 2:90-cr-00304-SRC           Document 28           Filed 08/28/08   Page 3 of 7 PageID: 354




       On February 14, 2992, Defendant appeared for sentencing. In sentencing Defendant, the

Court applied the version of the guidelines in effect on the date Defendant committed the

offense. However, the sentencing judge agreed with Probation, finding the criminal history

category III “grossly underrepresent[ed]” Defendant’s criminal history, noting that Defendant’s

past crimes were “of the worst kinds of crimes of violence” in which Defendant had placed

“innocent people . . . in fear of their lives[.]” Sent. Tr. at 107:22-108:4. The court explained that

had the four bank robberies been counted individually when assessing Defendant’ s criminal

history, Defendant’s criminal history score would have placed him in criminal history category

VI, with a guideline range of 235 to 293 months. Id. at 141:10-13. The sentencing judge found

an upward departure to that range to be appropriate. Id. at 141:14-19. Therefore, departing

upward pursuant to Section 4A1.3, the court sentenced Defendant at a total offense level 33,

criminal history category VI, with a guideline range of 235 to 293 months. Id. 114:25-115:10,

141:10-25. The court sentenced Defendant to 264 months imprisonment. Id.

       Defendant appealed his sentence to the Third Circuit Court of Appeals, arguing that the

sentencing judge improperly imposed the upward departure. On April 6, 1993, the Third Circuit

denied Defendant’s appeal and affirmed his sentence. U.S. v. Muhammed, 993 F.2d 879 (3d Cir.

1993). Plaintiff also challenged his sentence collaterally pursuant to 28 U.S.C. § 2255, however,

theses efforts were also denied. Pl. Br., Ex. 5, Tr. Hearing dated May 22, 1999 (“2255 Tr.”). See

also, U.S. v. Muhammed, 159 F.3d 1352 (3d Cir. 1998), cert. denied 525 U.S. 1186 (1999)

(affirming trial court’s order denying Defendant’s motion to vacate sentence pursuant to 28

U.S.C. § 2255 based on ineffective assistance of counsel); U.S. v. Muhammed, 59 Fed. Appx.

480, cert. denied 540 U.S. 1023 (2003) (affirming denial of petition for Habeas Corpus).


                                                 -3-
Case 2:90-cr-00304-SRC           Document 28          Filed 08/28/08    Page 4 of 7 PageID: 355




       In the 1999 proceeding before the Hon. John C. Lifland, Defendant argued the court had

erred in calculating his criminal history score by failing to apply the recently adopted Section

4A1.1(f), and that the court “did not have the authority to depart on the applicable criminal

history category[.]” 2255 Tr. at 42:3-21. Judge Lifland held these points were barred because

the Third Circuit had already addressed and rejected those arguments on direct appeal. Id. at

46:8-15.

       In the motion presently before the Court, Defendant argues that Amendment 709 to

Section 4A1.1(f), which became effective November 1, 2007, should be applied retroactively and

pursuant to which, his sentence should be reduced. Amendment 709 changes the manner in

which multiple prior sentences for crimes of violence are counted in the computation of criminal

history scores. U.S.S.G., Supp. to App’x C, amend. 709. Both before and after Amendment 709

took effect, prior sentences were to be counted as “separate” sentences where they were separated

by an intervening arrest. See Id. Amendment 709 changes way prior sentences are counted

where there is no intervening arrest. Id. Before Amendment 709, prior sentences were treated as

“related” and counted as a single sentence so long as they: (1) “occurred on the same occasion”;

(2) “were part of a single common scheme or plan”; or (3) “were consolidated for trial or

sentencing.” Id. Under Amendment 709, prior sentences that are not separated by an intervening

arrest “are to be counted as separate sentences unless the sentences (1) were for offenses that

were named in the same charging document, or (2) were imposed on the same day.” Id.

       Amendment 709 “also provides for an upward departure . . . if counting multiple prior

sentences as a single sentence [under this new method] would underrepresent the seriousness of

the defendant’s criminal history and the danger the defendant presents to the public.” Id.


                                                -4-
Case 2:90-cr-00304-SRC           Document 28          Filed 08/28/08    Page 5 of 7 PageID: 356




II. Discussion

       First, the government is correct that 18 U.S.C. § 3582(c)(2) excludes Defendant from the

class of persons for whom that statute provides a remedy. Section 3582(c)(2) provides that:

       in the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the Sentencing
       Commission pursuant to 28 U.S.C. 994(o) . . . the court may reduce the term of
       imprisonment . . . if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission.

Reduction in Defendant’s sentence would be inconsistent with the relevant policy statement,

which states that: “A reduction in the defendant's term of imprisonment is not consistent with

this policy statement and therefore is not authorized under 18 U.S.C. 3582(c)(2) if . . . [n]one of

the amendments listed in subsection (c) is applicable to the defendant[.]” U.S.S.G. §

1B1.10(a)(2). Neither Amendment 382 nor Amendment 709 are listed in subsection (c).

U.S.S.G. § 1B1.10(c). Therefore, a reduction in Defendant’s sentence “is not authorized under

18 U.S.C. 3582(c)(2).” See U.S.S.G. § 1B1.10(a)(2) and (c).

       To the extent Defendant seeks to argue that the holding in United States v. Booker, 543

U..S. 220 (2005) modified the requirements set forth in 18 U.S.C. § 3582(c)(2), the Court notes

that the Third Circuit does not agree:

       Some may argue that, because the Guidelines are no longer mandatory, defendants
       need not wait [for a modification to the guidelines by the Sentencing
       Commission] to apply for relief under § 3582(c)(2). That fundamentally
       misunderstands the limits of Booker. Nothing in that decision purported to
       obviate the congressional directive on whether a sentence could be reduced based
       on subsequent changes in the Guidelines.

United States v. Wise, 515 F.3d 207, 221 n. 11 (3d Cir. 2008) (quoting United States v.

Thompson, 70 F.3d 279, 281 (3d Cir.1995)). The holding in Wise makes clear that 18 U.S.C. §



                                                -5-
Case 2:90-cr-00304-SRC           Document 28           Filed 08/28/08     Page 6 of 7 PageID: 357




3582(c)(2) authorizes a court to reduce a sentence only when the Sentencing Commission has

lowered the applicable guideline range and included the amendment in the list set forth at

U.S.S.G. § 1B1.10(c). Id. That is not the case here.

       Defendant’s argument that the Court may apply Amendment 709 retroactively because

the amendment is “clarifying” rather than “substantive” is also without merit. Even if the Court

finds Amendment 709 to indeed be clarifying rather than substantive, retroactive application of

clarifying amendments is appropriate only where a defendant’s case is on direct appeal or the

defendant is pursuing habeas relief under 28 U.S.C. § 2255. U.S. v. Armstrong, 347 F.3d 905,

908-909 (11th Cir. 2003). See also U.S. v. Gill, 68 Fed.Appx. 354, 355-56, n. 2 (3d Cir. 2003);

U.S. v. Ruddock, 82 Fed.Appx. 752, 758 n.17 (3d Cir. 2003) (quoting United States v. Cepero,

224 F.3d 256, 268 (3d Cir. 2000)) (noting the Third Circuit has held that “misapplication of the

Sentencing Guidelines ‘does not present a constitutional issue’ and therefore, are ‘generally not

cognizable in a collateral attack’”). Again, that is not the case here.

       In this case, Defendant seeks modification of his sentence pursuant to Section 3582(c)(2),

which only provides relief where the relevant sentencing range has “been lowered by the

Sentencing Commission pursuant to 28 U.S.C. 994(o) . . . [and] such a reduction is consistent

with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(2). “‘The language of the applicable sections could not be clearer: the statute directs the

Court to the policy statement, and the policy statement[, U.S.S.G. § 1B1.10(c),] provides that an

amendment not listed in subsection (c) may not be applied retroactively pursuant to 18 U.S.C. §

3582(c)(2).’” Wise, 515 F.3d at 221, n.1 (quoting Thompson, 70 F.3d at 281)(emphasis added).

Because Amendment 709 is not listed in subsection (c) of the relevant policy statement, the


                                                 -6-
Case 2:90-cr-00304-SRC          Document 28           Filed 08/28/08    Page 7 of 7 PageID: 358




Court cannot consider the effect of this amendment in a motion for relief filed pursuant to 18

U.S.C. § 3582(c)(2). See U.S.S.G. § 1B1.10(a)(2) and (c). Whether the amendment is clarifying

or substantive is simply not relevant to a motion for relief pursuant to18 U.S.C. § 3582(c)(2).

Thompson, 70 F.3d at 281; Armstrong, 347 F.3d at 908-909.

       Moreover, as the government points out, application of Amendment 382 would have

violated the ex post facto clause of the United States Constitution, and because application of

Amendment 709 also increases Defendant’s criminal history score, and thus the punishment for

his crime, application of Amendment 709 would also violate the ex post facto clause of the

Constitution. Therefore, retroactive application of either amendment would be inappropriate.

       In short, because the Sentencing Commission has not lowered the guideline range

relevant to the crimes for which Defendant was convicted, and there are no such amendments

included in the list provided at U.S.S.G. § 1B1.10(c), 18 U.S.C. § 3582(c)(2) provides the Court

no authority to reduce Defendant’s sentence. Therefore,

       IT IS on this 26th day of August 2008,

       ORDERED that Defendant’s motion for a reduction in sentence is denied. [Docket item

13].

                                                         s/ Stanley R. Chesler
                                                       Stanley R. Chesler,
                                                       United States District Judge




                                                -7-
